                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           CIVIL ACTION NO. 3:06MJ380-1-H


UNITED STATES OF AMERICA,           )
                                    )
                                    )
            v.                      )                            ORDER
                                    )
ADRIAN LEMARIER,                    )
                                    )
                  Defendant.        )
____________________________________)


         THIS MATTER is before the Court on the Defendant’s “Application to Appear Pro Hac

Vice” (document #11), filed September 22, 2006 requesting admission of Ruben Nunez to represent

Adrian LeMarier. For the reasons set forth therein, the motion will be GRANTED.

         Pursuant to Local Rule 83.1(B), counsel shall remit the required admission fee of $100.00

to the Clerk of Court for the Western District of North Carolina within twenty-one (21) days of this

Order.

         The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel.

         SO ORDERED.

                                                    Signed: September 22, 2006




         Case 3:06-cr-00381-FDW            Document 12        Filed 09/22/06       Page 1 of 2
Case 3:06-cr-00381-FDW   Document 12   Filed 09/22/06   Page 2 of 2
